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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF OKLAHOMA


ADRIAN B. RODRIGUEZ,                                 )
                                                     )
                      Plaintiff,                     )
                                                     )
v.                                                   )
                                                     )       Case No.: CIV-2015- 760-D
                                                     )
HERTZ CORPORATION,                                   )
a Delaware Corporation; BARTH TREVOR                 )
HOWARD, individually; and CARL WOLD,                 )       Jury Trial Demanded
individually,                                        )
                                                     )
                      Defendants.                    )

                                         COMPLAINT

       Plaintiff, Adrian B. Rodriguez, for his Complaint against the Defendants, the Hertz

Corporation, Bart Trevor Howard and Carl Wold, does hereby alleged and state as follows:


                                JURISDICTION AND VENUE

1.     This cause of action in law and equity is based upon national origin as well as age

discrimination in violation of the Age Discrimination in Employment Act, and Oklahoma’s Anti-

Discrimination Act, national origin and or race discrimination, including national origin/ race

plus age, in violation of Title VII of the Civil Rights Act and Oklahoma’s Anti-Discrimination

Act. Jurisdiction over the federal claims are vested pursuant to 29 U.S.C. § 626 (c), 42 U.S.C. §

2000e-5(f) and the laws of the State of Oklahoma through pendant jurisdiction, 29 U.S.C.§ 1367.

2.     Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 1331, and 1367.

3.     Venue of this Court is invoked pursuant to 28 U.S.C. § 1391 as the unlawful employment

practices and torts alleged herein were committed within the Western District of Oklahoma and

Oklahoma County.

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                                               PARTIES

4.        Plaintiff, Adrian B. Rodriguez, is a male citizen of United States and is a resident of

Oklahoma City, Oklahoma County, Oklahoma, which is located in the Western District of

Oklahoma.

5.        Defendant Hertz Corporation, a Delaware Corporation, licensed and doing business in

Oklahoma City, Oklahoma County, which is located in the Western District of Oklahoma within

the purview of 42 U.S.C. §2000e(b) and is involved in an industry affecting commerce and

employs more than 500 persons.

6.        Defendant, Barth Trevor Howard, is believed to be an individual male citizen of the

United States residing in Oklahoma City, Oklahoma County, Oklahoma, which is located in the

Western District of Oklahoma employed by Defendant Hertz Corporation.

7.        Defendant, Carl Wold, is believed to be an individual male citizen of the United States

residing in Oklahoma City, Oklahoma County, Oklahoma, which is located in the Western

District of Oklahoma, employed by Defendant Hertz Corporation.



                                     FACTUAL BACKGOUND

8.        Plaintiff has been an employee for Defendant Hertz washing rental vehicles for over

twenty (20) years.

9.        Plaintiff has had no major write-ups or previous discipline and has been a good trusted

employee.

10.       Plaintiff is originally from Columbia but is currently and proudly a citizen of the United

States.

11.       Plaintiff is not physically large due to my Hispanic heritage in Columbia.



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12.    Plaintiff is over 40 years of age and is older than the management staff at the Oklahoma

Airport car wash facility.

13.    Plaintiff is also the Union Steward for Teamsters Local 886 and has been involved in

various labor disputes with Hertz. Most recently Plaintiff had to make a complaint about an

unfair labor practice as the management personnel were trying to hire new employees and telling

them that if they did not join the union, Hertz could pay them a higher salary. Management

persons were very upset with Plaintiff over this issue.

14.    Since Plaintiff has been employed he has been made fun of due to his inability to speak

and understand English completely as it is not his first language. Plaintiff has difficulty

understanding English that is spoken very fast or slurred. Although it has been persistent during

his employment, Hertz management staff has made fun of him due to his language difficulties

and Plaintiff has just tried to get along and joke around also.

15.    Plaintiff is not well educated.

16.    Defendant Howard has made fun of Plaintiff because of his age. Howard as indicated that

if Plaintiff would retire Howard could hire two people to replace him. Howard as stated and

otherwise indicated that Plaintiff is old and moving to slow. Howard has made Plaintiff feel like

he needs new young persons who will work faster than Plaintiff.

17.    Due to Plaintiff’s size and age, Howard, on or about early March 2014, physically pulled

Plaintiff from a car pushed him up against the door and screamed at him and threatened to beat

him up for driving too slow and parking a car in a place Howard did not want it. No other

employee has been assaulted by management as Plaintiff has been.

18.    Until Plaintiff’s termination, all management at the Oklahoma City car wash has been

white. The employees hired for the car wash and cleaning of rental vehicles have usually been



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black with a few Hispanics. Rarely does Hertz hire a white person to work in the Oklahoma City

car wash facility.

19.     On or about late March 2014, Howard ran out of a storage shed without looking and in

front of car I was moving from wash to the fuel island. It was raining and Plaintiff stopped

immediately to try to avoid striking Howard. Howard, however, went into the office and

consulted with Defendant Wold. As a result, an agreement was reached between Howard and

Wold to terminate the employment of Plaintiff by claiming that Plaintiff caused the accident.

Defendants relying on Plaintiff’s poor command of the English language intentionally fabricated

certain statements, inferences and allegations against Plaintiff.

20.     Hertz accepted the inaccurate and or fabricated statements of management did not

conduct an independent investigation and terminated Plaintiff’s employment even though the

accident was minor and did not involve alleged serious injury.

21.     Other non-Hispanic employees have not suffered terminations or serious discipline when

being involved in more serious accidents at work in the Oklahoma City area.

22.     Other non-union steward employees have not suffered terminations or serious discipline

when being involved in more serious accidents at work in the Oklahoma City area.

23.     Plaintiff was required to immediately take drug and alcohol tests which were completely

negative. Howard was not required to take any such tests.

24.     The speed limit in the car wash area was ten (10) miles per hour. Plaintiff was not

exceeding five (5) miles per hour.

25.     No other employees at the Oklahoma City facility were treated as badly, harassed, made

fun of, or disciplined as was Plaintiff. Plaintiff was the oldest employee at the Oklahoma City

facility.



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26.    After Plaintiff raised an issue about unfair labor practices of Hertz trying to get new hires

not to join the union, managements comments about his national origin and lack of command of

the English language increased as well as the rude comments and comments about me being sent

back to Columbia.

27.    As a result of the hostile work environment, Plaintiff was constructively discharged on or

about March 31, 2014.

28.    Defendant Hertz further retaliated against Plaintiff by intentionally, through the activities

of its employees by falsely claiming with the Oklahoma Department of Safety that a traffic

accident had occurred which was the sole fault of Plaintiff, knowing and intending that such be

placed in Plaintiff’s driving record and preventing him from future employment.

29.    Motivating factors in the termination of Plaintiff include his age, his national origin/race,

his union affiliation as union steward, and/or a combination of such factors.

30.    Plaintiff as lost income and benefits and experienced emotional distress and humiliation

and continues to suffer, lost wages (including past, present and future loss and the value of

benefits associated with such wages), and emotional distress symptoms including worry,

frustration, anxiety and similar unpleasant emotional trauma.

31.    Plaintiff has exhausted his administrative remedies by timely filing an EEOC charge of

discrimination on or about September 26, 2014. The EEOC issued a right to sue letter on April

14, 2015 and Plaintiff thereafter received such communication. This complaint is filed within

ninety (90) days of the issuance of such right to sue letter.

32.    As the result of Defendants’ discriminatory conduct, Plaintiff has suffered damages in

excess of $10,000.00.




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33.    Defendants’ discriminatory actions were intentional, willful, malicious, and taken in

reckless disregard for Plaintiff’s rights; therefore, Plaintiff is entitled to punitive damages against

Defendants jointly or severally.

                                                  COUNT I

                                            DISCRIMINATION

34.    For Count I of Plaintiff’s Complaint, Plaintiff adopts and re-alleges all previous

paragraphs numbered 1 through 31 as if pled and fully set forth herein and further states and

alleges:

35.    Discrimination based on national origin /race or upon Plaintiff’s status as an older male is

a violation of Title VII (including Title VII’s national origin/race plus doctrine) and the

Oklahoma Anti-Discrimination Act.

36.    Under this Count Plaintiff is entitled to compensation for his lost wages (including back,

present, and front pay along with the value of benefits associated with such wages), emotional

distress/dignitary harm and attorney fees and costs. Plaintiff is entitled to liquidated damages

under the state claim.

37.    Because the actions of the Defendants were willful or, at the least, in reckless disregard

for Plaintiff’s federally protected rights, Plaintiff is entitled to a award of punitive damages.



                                             COUNT II



38.    For Count II of Plaintiff’s Complaint, Plaintiff adopts and re-alleges all previous

paragraphs numbered 1 through 37 as if pled and fully set forth herein and further states and

alleges:

39.    Discrimination based on Plaintiff’s age is a violation of the ADEA and the OADA.

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40.     Under the ADEA, the Plaintiff is entitled to recover his wage loss damages, past present

and future, and the value of benefits associated with such wages. Plaintiff is entitled to liquidated

damages under the state law claims.

41.     Under the ADEA claim, the Plaintiff may recover liquidated damages based on the

willful nature of the discrimination.

42.        Defendants’ discriminatory actions were intentional, willful, malicious, and taken in

reckless disregard for Plaintiff’s rights; therefore, Plaintiff is entitled to punitive damages against

Defendants.

                                              COUNT III

                  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

43.     For Count III of Plaintiff’s Complaint, Plaintiff adopts and re-alleges all previous

paragraphs numbered 1 through 42 as if pled and fully set forth herein and further states and

alleges:

44.        For Count III of Plaintiff’s Complaint, Plaintiff adopts and re-alleges all paragraphs as if

pled herein and further states and alleges:

45.        Defendants’ conduct of constantly harassing Plaintiff and threatening to “press charges”

or levy heavy fines if Plaintiff’s tenants did not vacate the Plaintiff’s property was so extreme

and outrageous as to go beyond all bounds of decency and would be considered atrocious and

utterly intolerable in a civilized society.

46.        Defendants intentionally or recklessly caused severe emotional distress to Plaintiff

beyond that which a reasonable person could be expected to endure by Defendants actions

including posting and discriminating false and fictitious rumors and accusation.




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47.        As the direct and proximate result of Defendants’ actions, Plaintiff has suffered damages

and is entitled to recover damages in excess of $10,000.00.

48.        Defendants’ unlawful actions were intentional, willful, malicious, and taken in reckless

disregard for Plaintiff’s rights; therefore, Plaintiff is entitled to punitive damages against

Defendants.

                                       COUNT IV
                           APPLICATION FOR INJUNCTIVE RELIEF


49.    For Count II of Plaintiff’s Complaint, Plaintiff adopts and re-alleges all previous

paragraphs numbered 1 through 47 as if pled and fully set forth herein and further states and

alleges:

50..   Defendant’s actions, which constitute a violation of Title VII, 42 U.S.C. §2000e et seq.,

and a violation of Plaintiff’s rights pursuant to 29 U.S.C. § 626 et seq. which gives rise to actual

and de facto immediate and imminent irreparable harm for which Plaintiff has no adequate

remedy at law, and/or otherwise is entitled to injunctive or other equitable relief.

51.        Plaintiff is likely to prevail on the merits.

52.        The failure to enjoin Defendants’ further or ongoing harassment and interference with

Plaintiff’s good name and reputation and driving record will result in continued violations of

federal and state law and Plaintiff’s statutory rights, to the detriment of Plaintiff which is being

denied to him because of Defendants’ violations.

53.        The requested injunctive relief is demonstrably in the public interest.

54.        There are no other proceedings pending or that have been filed in any state court or

administrative proceeding as this action is authorized.




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       WHEREFORE, Plaintiff respectfully requests the Court grant the following relief for

the aforementioned allegations stated in this Complaint:

       1. Declare that the discriminatory practices of Defendants, as set forth above violate the

       anti-discrimination provisions as noted herein.

       2. Enjoin Defendants, their agents, employees, and successors, and all other persons in

       active concert or participation with any of them, from engaging in further discriminatory

       conduct and to remove the blight on Plaintiff’s driving record;

       3. Award such liquated damages to compensate Plaintiff for the willful injuries caused by

       Defendants’ discriminatory intentional conduct;

       4. Award Plaintiff his actual damages; together with pre- and post – judgment interest;

       5. Award Plaintiff compensatory damages for humiliation, embarrassment, and emotional

       and mental distress;

       7. Award Plaintiff punitive damages;

       8. For any other relief this Court deems just and equitable including his attorney fees and
       costs.
Dated this 13th day of July, 2015.

                                                     Respectfully Submitted,

                                                     /s/ David J. Batton
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